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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Judy Murphy,                                                   Case No. 16-cv-3778
                                                               (RHK/FLN)

               Plaintiff,                                      ORDER

               v.

Synchrony Bank,

               Defendant.

                            ______________________________________

                             Andrew Walker and Bennett Hartz for Plaintiff.
                                    Aaron Chapin for Defendant.
               ___________________________________________________

       THIS MATTER came before the undersigned United States Magistrate Judge on March 27,

2017, on Defendant’s Letter requesting leave to file a reply brief in support of its motion to stay

proceedings ( ECF No. 27). Based upon all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s request is DENIED.


DATED: April 7, 2017                                    s/Franklin L. Noel

                                                       FRANKLIN L. NOEL
                                                       United States Magistrate Judge
